Case 2:04-cr-20434-SH|\/| Document 72 Filed 08/02/05 Page 1 of 6 Page|D 75

UN|TED STATES DISTRlCT COURT Fll£o
WESTERN DlSTR|CT OF TENNESSEE BY "' -- o-c-

MEMPHls DivisloN 05 AUG -2 PM 3. 39

THOMAS ill

r" l
'v` 04-20434-02-Ma C‘%Ll,§§;l‘-TTBICTCO{M

ii i,‘.'i‘§}.-lPHlS
AL EX M U N OZ

UN|TED STATES OF AMER|CA

J. Patten Brgwn,l |ll, FPD
Defense Attorney

200 Jef|'erson Avenue, Suite 200
Memphis, Tennessee 38103

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the Indictment on Ju|y 29, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & Section N.MQMM Conc|uded Number(s)
18 U.S.C. § 1028(a)(5) Knowing|y produce, transfer or 09/17/2004 1

18 U.S.C. § 2 possess a document-making
impiement; aiding and abetting

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Viotims Fiestitution Act of 1996.

Count 2 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notifythe United States Attorneyfor this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. None Date of imposition of Sentence:
Defendant’s Date of Birth: Ju|y 29, 2005
Deft’s U.S. Marsha| No.:

Defendant's Hesidence Address:
Unknown address

N|exico k w C

SAMUEL H. MAYS, JR.
UN|TED STATES DlSTR|CT JUDGE

 

August 2 , 2005

Thfs cinci.ment entered on the docket sheeti compliance
with Rule 55 andloi 32101 FFlCrP on _£_B_Q§__ 7

Case 2:04-cr-20434-SH|\/| Document 72 Filed 08/02/05 Page 2 of 6 Page|D 76

Case No: 04-20434-02-Ma
Defendant Name: A|ex Munoz Page 2 of 5

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of time already served

The defendant is remanded to the custody of the United States Marsha|. Defendant to be
turned over to immigration and Customs Enforcement (iCE) for immediate deportation proceedingsl

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

Case 2:04-cr-20434-SHl\/l Document 72 Filed 08/02/05 Page 3 of 6 PagelD 77

Case No: 04-20434-02-Nla
Defendant Name: A|ex Munoz Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of NONE.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer

Said term is to be unsupervised provided the defendant leaves and does not reenter
the United States. Should he be deported, he shall not reenter the United States without
the express permission of the U.S. Attorney General. Should the defendant leave and
subsequently reenter the United States prior to expiration of the supen/ised release term,
he shall report immediately to the U.S. Probation Office.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3_ The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlied substances are illegally so|d, usedr
distributed, or administered;

Case 2:04-cr-20434-SHl\/l Document 72 Filed 08/02/05 Page 4 of 6 PagelD 78

Case No: 04-20434-02-Ma
Defendant Name: A|ex Munoz Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him cr her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| |Vfonetary F’enalties sheet of this judgment

ADD|TiONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Pursuant to 18 U.S.C. 3583(d), the defendant is to be delivered, upon release from
imprisonment, to a duly authorized immigration official to determine if deportation is
appropriate Should deportation be ordered, the defendant is to remain outside the United
States, unless authorized by the United States Attorney Genera|.

2. Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

Case 2:04-cr-20434-SHl\/l Document 72 Filed 08/02/05 Page 5 of 6 PagelD 79

Case No: 04-20434-02-Ma
Defendant Name: A|ex Munoz Page 5 of 5

CF{|NI|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(1). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Fiestitution was ordered

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:04-CR-20434 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

Memphis7 TN 38117--571

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

